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 1   LAW OFFICE OF DAVID A. TORRES
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 4   email: lawtorres@aol.com

 5   Attorney for:
     Candace Shantel Gonzlaes
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 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF CALIFORNIA,                       ¹. 12-CR-00213 AWI

13                                PLAINTIFF,            ORDER FOR
                   vs.                                  APPROVAL OF SUBSTITUTION
14                                                      OF ATTORNEY AND ORDER
                                                        TERMINATING CJA APPOINTMENT
15   CANDACE SHANTEL GONZALES,

16                                DEFENDANT

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18          I, Candace Shantel Gonzles, hereby substitutes DAVID A. TORRES, 1318 “K” Street,

19   Bakersfield, California 93301, Telephone (661) 326-0857 as my attorney of record. Mr. Torres was

20   previously appointed CJA counsel through the Initial Appearance only.

21   Date: July 27, 2012                         /s/Candace Shantel Gonzales
                                                 CANDACE SHANTEL GONZALES
22                                               Defendant

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24   Date: July 27, 2012                         /s/David A. Torres
                                                 DAVID A. TORRES
25                                               Attorney at Law
                                                 RETAINED
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     Case 1:12-cr-00213-JLT-BAM Document 79 Filed 07/30/12 Page 2 of 2


 1                                             ORDER
 2          IT IS SO ORDERED that David A. Torres is hereby substituted in as attorney of record

 3   and that the previous CJA appointment for Initial Appearance be terminated.

 4   IT IS SO ORDERED.

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     Dated:    July 27, 2012
 6   0m8i78                                        CHIEF UNITED STATES DISTRICT JUDGE

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